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 1                                                              Honorable Richard A. Jones
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                       UNITED STATES DISTRICT COURT FOR THE
 8
                         WESTERN DISTRICT OF WASHINGTON
 9                                 AT SEATTLE
10
      UNITED STATES OF AMERICA,                       CASE NO. CR20-00020-RAJ
11
                            Plaintiff
                                                      ORDER GRANTING UNITED STATES’
12
                       v.                             UNOPPOSED MOTION TO DISMISS
13                                                    INDICTMENT
      DALE DUPREE CASEY,
14
                            Defendant.
15
16         The government’s unopposed Motion to Dismiss Indictment is hereby
17 GRANTED. Pursuant to Fed. R. Crim. Proc. 48(a), the Indictment against Defendant
18 Dale Dupree Casey is dismissed with prejudice.
19
20         DATED this 5th day of November, 2020.
21
22                                                  A
23                                                  The Honorable Richard A. Jones
24                                                  United States District Judge

25
26
27
28
     ORDER GRANTING MOTION TO DISMISS - 1                            UNITED STATES ATTORNEY
                                                                      700 STEWART ST., SUITE 5220
                                                                      SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
